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AO 91 (Rsv. S/85) Criminal Comolaint




                              ^niteh States ^tstrtct Court
                                                         Southern DISTRICT OF Ohio

                  UNITED STATES OF AMERICA

                                       V.
                        Deshaune K.         Stewart
                                                                                      CRIMINAL COMPLAINT

                                                                                   CASE NUMBER: ( 3 '


                       (Name and Address of Defendant)



         I, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge
and t>elief. On orabout December 23, 2017                                             in Franklin                            county, in the
Southern                         District of Ohio                                     defendants(s) did, (Track statutory l.anguage ofOffense)
knowingly kill or attempt to kill an engsloyee of the United States Government while such eitqjloyei
is engaged in or on account of the performance of their official duties.




in violation of Title is                                  United States Code, Sectlon(s) 1114
lfurlherstatethatlama(n}u.s. Postal inspector                                   and that this complaint is based on the following facts:
Official Title
See Attached Criminal Complaint Affidavit.




Continued on the attached sheet and made a part hereof:                         S Yes           QNo



                                                                                     signature of Coiriplainan
Swom to before me and subscribed in my presence.

                                                                                                          ,   OH

Date



   Elizabeth Preston Deavers, U.S. Idagistrate Judge
htame and i itie 01 Judicial Ufficer                                                 Signature of Juditial Officer
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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION




      AFFIDAVIT IN SUPPORT OF APPLICATION FOR ARREST WARRANT OF
                                   DESHAUNE K. STEWART



        1, Daniel J. Johnson, Postal Inspector, being duly sworn, depose and state as follows:
1. I have been a U.S. Postal Inspector for the past 9years, enforcing federal mail and drug laws;
   currently assigned to Columbus, OH. I have received training at the U.S. Postal Inspection
    Service National Training Seminars for mail-related criminal investigations and have
    investigated cases with other federal, state, and local police units. 1have received training for
    workplace violence and violent crime investigations. I have investigated cases involving
    violence to include assaults, armed robberies, and threats.

2. On December 23, 2017, at approximately 4:25AM Dublin, Ohio Police were dispatched via a
   911 call to the Dublin, Ohio Post Office located at 6400 Emerald Parkway, Dublin, Ohio
   43016 on reports of an active shooter. The location is Franklin County within the Southern
   District of Ohio.

3. Officers found a male subject deceased from two gunshot wounds upon arrival.

4. One witness stated that they saw "Shawne Stewart", an individual identified by law
   enforcement as Deshaune K. Stewart, herein referred to as STEWART, a United States
   Postal Service Employee stationed at Dublin Ohio Post Office. The witness stated that
   STEWART was completely nude inside the postoffice. The witness then heard a bang before
   running out of the building towards safety.

5. A second witness saw STEWART from a distance of about 12 feet. He witnessed
   STEWART who was completely nude at the time point a gun at the now deceased subject
   and fire a shot that struck him. This witness then fled the scene to safety.

6. A third witness heard a gunshot and saw coworkers running toward the door to exit the
   building. This witness held the door open to see if anyone else was coming out and observed
   STEWART walking towards the doore completely nude and realized that STEWART was
   the shooter, fleeing the scene.

7. All three witnesses were able to identify STEWART because they were coworkers and also
   United States Postal Service Employees stationed at the Dublin Ohio Post Office.

8. At approximately 7:18 AM Columbus Police officers responded to 5591 Bowland Place
   North, Dublin, Ohio 43016, located in the City of Columbus. Franklin County, Ohio within
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    The Southern District of Ohio. Officers arrived to find DESHAUNE K. STEWART
    completely nude, in the vicinity of a second deceased subject. Stewart had a handgun in his
    possession at the time of the arrest. Victim two was not shot, however, she suffered trauma to
    her head from impact.

9. Both victims were United States Postal Service Employees. Victim one was a Customer
    Services Supervisor with direct supervision responsibilities of STEWART and engaged in
    the performance of his official duties as an employee of the United States Government.
    Victim two was the Postmaster of Dublin Ohio and a United States Government employee
    killed on account of her duties.

10. STEWART was interviewed at Columbus Police Headquarters at approximately 12:21 PM.
    He made statements referring to victim two that she would stand behind him while sorting
   his mail and "get into your mind." STEWART also made comments related to work and
   postal management that they had been harassing him since day one. STEWART said in
   reference to victim one that he "shot him and he fell to the ground" then shot him a second
   time in the head. After shooting victim one he went to the office of victim two, also located
   in the post office, and forced the door open looking for her.

11. After STEWART left the post office he went to the home of victim two where he waited in
    his vehicle until she exited the apartment building. STEWART stated that victim two was
    running away from him, fell into the doorway, and he pulled her back out taking herjewelry
    that had a stone. After he took the stone, she was on the ground between two cars and he
    knew "she died for real." At another point in the interview he said that he hit her with his left
   hand.

12. Based on the information contained herein, your affiant maintains there is probable cause to
    believe that the DESHAUNE K. STEWART, in violation of Title 18, United States Code,
    Sections 1114, committed the act of Murder, knowingly killing employees of the United
    States Government while such employees were engaged in or on account of the performance
   of their official duties and seek the issuance of a warrant to arrest STEWART.




                                                                                  Daniel J. Johnson
                                                                     United States Postal Inspector
                                                                    '2j1h
       Sworn to before me, and subscribed in my presencjj^this          day of December 2017, in
Columbus, Ohio.


                                                                      Elizabeth Preston Deavers
                                                                    United Stal^Magistrate Judge
